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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      06-296M
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    MANUEL BRAVO-GERALDO, )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Count I:      Possession of Methamphetamine with Intent to Distribute
18            Count II:     Possession of Cocaine with Intent to Distribute
19 Date of Detention Hearing: June 12, 2006
20            The Court, having conducted an uncontested detention hearing pursuant to Title
21 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
22 detention hereafter set forth, finds that no condition or combination of conditions which the
23 defendant can meet will reasonably assure the appearance of the defendant as required and
24 the safety of any other person and the community. The Government was represented by
25 Vincent Lombardi. The defendant was represented by Jessie Cantor.
26 //                //            //

     DETENTION ORDER
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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense. The maximum penalty is in excess of ten years. There is
 4               therefore a rebuttable presumption against the defendant’s release based
 5               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6               3142(e).
 7         (2)   Defendant poses a risk of non-appearance as he is a citizen of Mexico
 8               and is in the United States illegally and the Bureau of Customs
 9               Enforcement has filed a detainer against defendant; his criminal history
10               reveals an alias name and date of birth.
11         (3)   The defendant stipulated to detention.
12         (4)   Based upon the foregoing information which is consistent with the
13               recommendation of U.S. Pre-trial Services, it appears that there is no
14               condition or combination of conditions that would reasonably assure
15               future Court appearances and/or the safety of other persons or the
16               community.
17         It is therefore ORDERED:
18         (l)   The defendant shall be detained pending trial and committed to the
19               custody of the Attorney General for confinement in a correction facility
20               separate, to the extent practicable, from persons awaiting or serving
21               sentences or being held in custody pending appeal;
22         (2)   The defendant shall be afforded reasonable opportunity for private
23               consultation with counsel;
24         (3)   On order of a court of the United States or on request of an attorney for
25               the Government, the person in charge of the corrections facility in which
26               the defendant is confined shall deliver the defendant to a United States

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 1               Marshal for the purpose of an appearance in connection with a court
 2               proceeding; and
 3         (4)   The clerk shall direct copies of this order to counsel for the United
 4               States, to counsel for the defendant, to the United States Marshal, and to
 5               the United States Pretrial Services Officer.
 6         DATED this 13th day of June, 2006.
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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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     DETENTION ORDER
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